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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

------------------------------- x
DONGGUK UNIVERSITY,             : No. 3:08-CV-00441 (RNC)
                                :
          Plaintiff,            :
                                :
     v.                         :
                                :
YALE UNIVERSITY,                :
                                :
          Defendant.            : MAY 8, 2008
------------------------------- x

                             MOTION TO STAY DISCOVERY

       Pursuant to Federal Rule of Civil Procedure 26(c), Defendant Yale University moves to

stay all discovery in the above-captioned case pending the Court’s resolution of Yale’s

anticipated motion to dismiss all claims in Plaintiff Dongguk University’s Complaint for failure

to state a claim upon which relief can be granted. Because Yale’s motion to dismiss will likely

dispose of this case, because discovery would be burdensome to the parties and the Court, and

because those burdens can be avoided with no prejudice to Dongguk, the Court should stay

discovery unless and until it determines that Dongguk has stated a legally cognizable claim.




ORAL ARGUMENT NOT REQUESTED
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Counsel for Yale has conferred with counsel for Dongguk, who objects to this motion.

                                         DEFENDANT YALE UNIVERSITY

                                         By:       /s/ Felix J. Springer
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                                       CERTIFICATION

        I hereby certify that on May 8, 2008, a copy of the foregoing was filed electronically and
served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by
e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF System.




                                                        /s/ Felix J. Springer




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